                 Case 2:10-cr-00437-WBS Document
                             UNITED STATES       36 Filed COURT
                                              DISTRICT    10/26/10 Page 1 of 2
                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                         )
         v.                                              )   CR NO: 2:10-CR-437 WBS
                                                         )
DERICK NOBLE
                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            DERICK NOBLE
Detained at (custodian):         Deuel Vocational Institution
Detainee is:   a.)   : charged in this district by:
                            : Indictment                 9 Information              9 Complaint
                            Charging Detainee With:      21 U.S.C. § 846 and 841(a)(1) - Conspiracy to
Distribute and to Possess with the Intent to Distribute Methamphetamine
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                 Signature: /s/ Jill M. Thomas
                                 Printed Name & Phone No: JILL M. THOMAS (916) 554-2781
                                 Attorney of Record for:     United States of America
                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                          9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
10/25/10
Date


Please provide the following, if known:
 AKA(s) (if applicable):                                                                  Male :   Female 9
 Booking or CDC #:              X-3138718 - CDC V067556                                   DOB:     11/05/1982
 Facility Address:              23500 Kasson Road                                         Race:
                                Tracy, CA 95304                                           FBI #:
 Facility Phone:
 Currently Incarcerated For: H&S 11351 - Possession for Sale of Cocaine
                                                 RETURN OF SERVICE

Executed on                by
                                                                            (Signature)



Form Crim-48                                                                                           Revised 11/19/97
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Form Crim-48                                                                   Revised 11/19/97
